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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

PEITRO TAWADROUS

 

Plaintiff(s)
Vv.

TRANS UNION, LLC; EXPERIAN
INFORMATION SOLUTIONS, INC.; COMENITY
BANK; CAPITAL ONE, N.A.; USAA SAVINGS
BANK AND WELLS FARGO DEALER SERVICES

Civil Action No. 21-5223

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
USAA Savings Bank
10750 McDermott
San Antonio, Texas 78288

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

BRENT F. VULLINGS
VULLINGS LAW GROUP LLC
3953 RIDGE PIKE

STE102

COLLEGEVILLE, PA 19426

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

CLERK OF COURT

Date: 11/29/2021 olBriaa 9, Weissman

 

 

Signature of Clerk or Deputy Clerk

        

Kate Barkman, Clerk‘of Court
U.S. District Court, Eagtern District of PA

 

 

 

 

 
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Civil Action No. 21-5223

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) Us A pe
was received by me on (date) 1 (24 | Z02( @_ }:0% Pr

 

[_] I personally served the summons on the individual at (place)

 

on (date) ; Or

 

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

on (date) 3 or

{_] Ireturned the summons unexecuted because 3 or

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My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

pate; 11/29 2024 SA. = I

 

 

“ ( SeFver’s signature
C pal ° () U ezada it ev ake Pr, cess Ser vet
Printed name and title

BiB UN ca Way Cbole TK 73106

Server ’s address

Additional information regarding attempted service, etc:

 

 
